   Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 1 of 41




                             No. 23-55662

              United States Court of Appeals
                   for the Ninth Circuit
                             ________________

    COSTAR GROUP, INC.; COSTAR REALTY INFORMATION, INC.,
                          Plaintiffs-Counter Defendants-Appellees,
                                   v.
           COMMERCIAL REAL ESTATE EXCHANGE, INC.,
                         Defendant-Counter Claimant-Appellant.
                            ________________

            On Appeal from the U.S. District Court
      for the Central District of California (Los Angeles)
    No. 2:20-cv-08819-CBM-AS, Hon. Consuelo B. Marshall
                            ________________

BRIEF OF AMICI CURIAE FORMER ANTITRUST OFFICIALS
AND ANTITRUST SCHOLARS IN SUPPORT OF PLAINTIFFS-
         COUNTER DEFENDANTS-APPELLEES
                            ________________

                                           Cody L. Reaves
                                           Counsel of Record
                                           Benjamin M. Mundel
                                           SIDLEY AUSTIN LLP
                                           1501 K Street, N.W.
                                           Washington, D.C. 20005
                                           Tel: (202) 736-8000
                                           cody.reaves@sidley.com

                                           Counsel for Amici Curiae
         Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 2 of 41




                                 TABLE OF CONTENTS


TABLE OF AUTHORITIES ......................................................................ii
Interest of Amici Curiae ............................................................................ 1
Introduction and Summary of Argument ................................................. 4
ARGUMENT ............................................................................................. 8
  I.    Courts Properly Analyze Whether Alleged Misconduct Is
        Anticompetitive In Light Of The Bedrock Principle That A
        Business Has No Duty To Aid Its Competitors. .............................. 8
  II. The De Facto Exclusive Dealing Theory Cannot Be Used To
      Transform Non-Exclusive Contract Provisions Into Exclusivity
      Provisions. ...................................................................................... 13
        A.      The De Facto Exclusive Dealing Theory Lacks Any Doctrinal
                Foundation. ........................................................................... 13
        B.      This Court’s Cases, Historical Context, and Administrability
                Concerns Counsel Strongly Against Recognizing The De
                Facto Dealing Theory. ........................................................... 20
  III. Allegations Of High Prices, Standing Alone, Do Not Provide Direct
       Evidence Of Market Power Or Monopoly Power. .......................... 26
CONCLUSION ........................................................................................ 33
CERTIFICATE OF COMPLIANCE
CERTIFICATE OF SERVICE




                                                    i
          Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 3 of 41




                                TABLE OF AUTHORITIES

                                                                                                   Page(s)

Cases

Aerotec Int’l, Inc. v. Honeywell Int’l, Inc.,
  836 F.3d 1171 (9th Cir. 2016) ..................................................... passim

Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp.
   LP,
   592 F.3d 991 (9th Cir. 2010) ............................................................... 24

Apartments Nationwide, Inc. v. Harmon Publ’g Co.,
  78 F.3d 584 (6th Cir. 1996) ................................................................... 4

In re ATM Fee Antitrust Litig.,
   No. C 04-2676 CRB, 2010 WL 2557519 (N.D. Cal. June 21,
   2010) .................................................................................................... 32

Berkey Photo, Inc. v. Eastman Kodak Co.,
  603 F.2d 263 (2d Cir. 1979) ................................................................ 27

Blue Cross & Blue Shield United of Wis. v. Marshfield
  Clinic,
  65 F.3d 1406 (7th Cir. 1995) ........................................................... 7, 27

Brown Shoe Co. v United States,
  370 U.S. 294 (1962) ............................................................................... 8

Cascade Health Sols. v. PeaceHealth,
  515 F.3d 883 (9th Cir. 2008) ................................................................. 9

Chase Mfg., Inc. v. Johns Manville Corp.,
  84 F.4th 1157 (10th Cir. 2023) ..................................................... 11, 12

Chase Mfg., Inc. v. Johns Manville Corp.,
  601 F. Supp. 3d 911 (D. Colo. 2022) ............................................. 11, 12




                                                      ii
          Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 4 of 41




Chung Le v. Zuffa, LLC,
  No. 2:15-cv-01045-RFB-BNW, 2024 WL 195994 (D. Nev.
  Jan. 18, 2024) ...................................................................................... 32

Coal. for ICANN Transparency, Inc. v. VeriSign, Inc.,
  611 F.3d 495 (9th Cir. 2010) ........................................................... 7, 27

Concord Boat Corp. v. Brunswick Corp.,
  207 F.3d 1039 (8th Cir. 2000) ............................................................. 15

Eastman Kodak Co. v. Image Tech. Servs., Inc.,
  504 U.S. 451 (1992) ............................................................................. 23

Epic Games, Inc. v. Apple, Inc.,
  67 F. 4th 946 (9th Cir. 2023), cert. denied, 144 S. Ct. 681
  (2024)............................................................................................. 30, 31

FTC v. Qualcomm Inc.,
  969 F.3d 974 (9th Cir. 2020) ................................................. 5, 9, 10, 21

Food Mktg. Inst. v. Argus Leader Media,
  139 S. Ct. 2356 (2019) ......................................................................... 21

Forsyth v. Humana, Inc.,
  114 F.3d 1467 (9th Cir. 1997), overruled on other grounds
  by Lacey v. Maricopa Cnty, 693 F.3d 896 (9th Cir. 2012) .............. 7, 27

Greyhound Computer Corp., Inc. v. IBM Corp.,
  559 F.2d 488 (9th Cir. 1977) ............................................................... 31

LePage’s Inc. v. 3M,
  324 F.3d 141 (3d Cir. 2003) ................................................................ 16

McWane, Inc. v. FTC,
  783 F.3d 814 (11th Cir. 2015) ....................................................... 18, 29

Mylan Pharms., Inc. v. Warner Chilcott Pub. Ltd.,
  838 F.3d 421 (3d Cir. 2016) ................................................................ 29

Newcal Indus., Inc. v. Ikon Off. Sol.,
  513 F.3d 1038 (9th Cir. 2008) ............................................................. 26


                                                    iii
         Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 5 of 41




Novell v. Microsoft Corp.,
  731 F.3d 1064 (10th Cir. 2013) ....................................................... 9, 11

O’Bannon v. NCAA,
  802 F.3d 1049 (9th Cir. 2015) ............................................................. 30

Omega Env’t, Inc. v. Gilbarco, Inc.,
  127 F.3d 1157 (9th Cir. 1997) ............................................................... 4

Pac. Bell Tel. Co. v. Linkline Commc’ns, Inc.,
  555 U.S. 438 (2009) ....................................................................... 23, 24

Rebel Oil Co., Inc. v. Atl. Richfield Co.,
  51 F.3d 1421 (9th Cir. 1995) ....................................................... passim

Reiter v. Sonotone Corp.,
  442 U.S. 330 (1979) ............................................................................. 26

Se. Mo. Hosp. v. C.R. Bard, Inc.,
   642 F.3d 608 (8th Cir. 2011) ............................................................... 15

Spectrum Sports, Inc. v. McQuillan,
  506 U.S. 447 (1993) ............................................................................... 4

Tampa Elec. Co. v. Nashville Coal Co.,
  365 U.S. 320 (1961) ................................................................. 14, 15, 20

Town of Concord v. Bos. Edison Co.,
  915 F.2d 17 (1st Cir. 1990) ................................................................. 23

United Air Lines, Inc. v. Austin Travel Corp.,
  867 F.2d 737 (2d Cir. 1989) ................................................................ 15

United States v. Dentsply Int’l, Inc.,
  399 F.3d 181 (3d Cir. 2005) ................................................................ 16

United States v. Microsoft Corp.,
  253 F.3d 34 (D.C. Cir. 2001) ........................................................... 7, 29

United States v. Syufy Enters.,
  903 F.2d 659 (9th Cir. 1990) ........................................................... 8, 26



                                                  iv
         Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 6 of 41




U.S. Shoe Mach. Corp. v. United States,
  258 U.S. 451 (1922) ....................................................................... 14, 21

U.S. Tel. Co. v. Cent. Union Tel. Co.,
  202 F. 66 (6th Cir. 1913) ..................................................................... 22

Verizon Commcn’s Inc. v. Law Offs. of Curtis V. Trinko, LLP,
  540 U.S. 398 (2004) ........................................................... 4, 6, 9, 10, 23

Whitwell v. Cont’l Tobacco Co.,
  125 F. 454 (8th Cir. 1903) ................................................................... 22

ZF Meritor, LLC v. Eaton Corp.,
  696 F.3d 254 (3d Cir. 2012) .................................................... 13, 17, 20

Administrative Decisions

McWane, Inc.,
  2014–1 Trade Cas. (CCH) ¶ 78670, 2014 WL 556261
  (F.T.C. Jan. 30, 2014) ......................................................................... 18

Scholarly Authorities

Christopher R. Leslie, Predatory Pricing and Recoupment,
  113 Colum. L. Rev. 1695 (2013) .......................................................... 28

Other Authorities

Areeda & Hovenkamp, Antitrust Law (Aug. 2023) .................... 22, 28, 31

Robert H. Bork, The Antitrust Paradox (1978)....................................... 28




                                                 v
       Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 7 of 41




                        Interest of Amici Curiae1

     Amici Curiae are former antitrust officials and antitrust scholars

who have spent decades enforcing and studying the Nation’s antitrust

laws, including the Sherman Act. This significant experience, which

includes leading both of the Federal Trade Commission’s enforcement

bureaus and serving as General Counsel of the FTC, has provided amici

with a deep knowledge and understanding of the issues at the heart of

this appeal. Given their expertise and their knowledge of the Sherman

Act and the antitrust laws generally, amici have a particular interest in

this case.   Amici believe that the decision below correctly applied

traditional antitrust principles and this Court’s precedents to resolve the

issues raised.    Amici also believe that the arguments advanced by

Appellant and its amicus, if accepted, would upend these foundational

antitrust principles and open the floodgates to baseless antitrust suits.




1 All parties consent to the filing of this brief. No party’s counsel authored

the brief in whole or part. No party or party’s counsel contributed money
intended to fund preparing or submitting the brief. No person other than
amici or their counsel contributed money intended to fund preparing or
submitting the brief.

                                        1
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 8 of 41




     Amici are the following:2

     Timothy J. Muris, J.D., is a George Mason University Foundation

Professor of Law at Antonin Scalia Law School, George Mason

University, and a Senior Counsel at Sidley Austin LLP. He served as

Chairman of the FTC from 2000-2004.                Before being elevated to

Chairman, Tim served as Director of the Bureau of Consumer Protection

and Director of the Bureau of Competition. He is the only person ever to

head both of the agency’s enforcement bureaus.

     Alden Abbott, J.D., is a Senior Research Fellow focusing on

antitrust issues at the Mercatus Center at George Mason University. He

served as General Counsel of the FTC from 2018-2021, where he

represented the Commission in court and provided legal advice to its

representatives.

     Daniel J. Gilman, J.D., Ph.D., is a Senior Scholar of Competition

Policy at the International Center for Law & Economics. He previously

served as an attorney advisor in the FTC’s Office of Policy Planning and




2 Amici submit this brief in their personal capacities and, accordingly,

speak only for themselves personally and not for any entity or other
person.

                                       2
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 9 of 41




as the Victor H. Kramer Foundation Fellow in antitrust law and

economics at Harvard Law School.

     Justin (Gus) Hurwitz, J.D., is the Director of Law & Economics

Programs at the International Center for Law & Economics and a Senior

Fellow and Academic Director of the Center for Technology, Innovation,

and Competition at the University of Pennsylvania Carey Law School.

He previously served as a trial attorney with the U.S. Justice

Department Antitrust Division in the Telecommunications and Media

Enforcement section.

     Geoffrey A. Manne, J.D., is the President and Founder of the

International Center for Law & Economics and serves as distinguished

fellow at Northwestern University’s Center on Law, Business, and

Economics. Before founding ICLE in 2009, he served as a law professor

at Lewis & Clark Law School and as a Bigelow Fellow and Lecturer in

Law at the University of Chicago Law School.




                                       3
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 10 of 41




              Introduction and Summary of Argument

     The Sherman Act is the “Magna Carta of free enterprise.” Verizon

Commcn’s Inc. v. Law Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 415

(2004) (citation omitted). It directs itself “not against conduct which is

competitive, even severely so, but against conduct which unfairly tends

to destroy competition itself.” Spectrum Sports, Inc. v. McQuillan, 506

U.S. 447, 458 (1993). And it does so not to protect corporate or private

interests, but from concern for consumer welfare and the public interest.

Id. The goal of antitrust law thus “is not to redress losers of legitimate

competition; [i]t is to proscribe actions with anticompetitive effect.”

Apartments Nationwide, Inc. v. Harmon Publ’g Co., 78 F.3d 584 (6th Cir.

1996) (table); Omega Env’t, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1163

(9th Cir. 1997) (“[T]he antitrust laws were not designed to equip [a]

competitor with [its rival’s] legitimate competitive advantage.”).

     For almost four decades, CoStar Group, Inc. and CoStar Realty

Information, Inc. (“CoStar”) have provided commercial real estate

(“CRE”) services, including CRE listings and auction services.

Commercial Real Estate Exchange Inc. (“CREXi”), launched almost a

decade ago, is attempting to build its own CRE platform. CoStar filed



                                       4
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 11 of 41




suit against CREXi in September 2020, alleging that CREXi “harvests

content, including broker directories, from CoStar’s subscription

database without authorization by using passwords issued to other

companies.” See Dist. Ct. Dkt. 1. In response, CREXi filed eight antitrust

counterclaims for violations of the Sherman Act (seven claims) and the

Cartwright Act (one claim).        Dist. Ct. Dkt. 146.      The district court

dismissed them all.

     In asking this Court to reverse the district court’s decision, CREXi

and its amicus make three critical errors. First, CREXi and the FTC try

to recast the court’s analysis as incorrectly applying a “refusal-to-deal

framework.” Doc. 24 (“FTC Br.”) 10; Doc. 21 (“CREXi Br.”) 32. But the

district court did not apply any such framework. Nor did it borrow any

of the elements this Court has found must be pleaded in refusal to deal

cases. See FTC v. Qualcomm Inc., 969 F.3d 974, 994–95 (9th Cir. 2020).

Instead, the court did what courts do when considering antitrust

claims—analyze contractual language and market realities in light of the

bedrock antitrust principle that “a business generally has the right to

refuse to deal with its competitors.” Dist. Ct. Dkt. 340 (“Op.”) 3. There

is nothing improper about analyzing antitrust claims against the



                                       5
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 12 of 41




backdrop of this (and other) “traditional antitrust principles.” Trinko,

540 U.S. at 411.

     Second, CREXi and the FTC argue that CoStar’s contractual

provisions with brokers are “de facto” exclusivity provisions that violate

the Sherman Act. CREXi Br. 62–64; FTC Br. 17–19. Yet both fail to

acknowledge that this Court has never “explicitly recognized a ‘de facto’

exclusive dealing theory.” Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836

F.3d 1171, 1182 (9th Cir. 2016). A careful examination of this theory

reveals that it lacks a doctrinal foundation, and that this Court’s cases,

historical context, and administrability concerns all counsel strongly

against recognizing this theory. In any event, even if this were a viable

theory, it is unavailable to CREXi here because CoStar’s express

contractual terms plainly do not “substantially foreclose[]” brokers from

dealing with CREXi. Id.

     Third, CREXi and the FTC both urge this Court to hold that

allegations of supracompetitive prices alone are enough to adequately

allege direct evidence of market power, and thus that the test applied in

Rebel Oil Co., Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1433 (9th Cir. 1995),

is “wrong as a matter of law.” CREXi Br. 38. Not so. Direct evidence of



                                       6
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 13 of 41




market power is “only rarely available.” United States v. Microsoft Corp.,

253 F.3d 34, 51 (D.C. Cir. 2001) (en banc) (per curiam). And as the

Supreme Court has made clear, market power is “the ability to raise

prices profitably by restricting output. Ohio v. Am. Express Co., 138 S.

Ct. 2274, 2288 (2018) (quoting Areeda & Hovenkamp § 5.01) (emphasis

in original). “[H]igh price alone” thus is not enough to infer market

power. Coal. for ICANN Transparency, Inc. v. VeriSign, Inc., 611 F.3d

495, 503 (9th Cir. 2010); see Blue Cross & Blue Shield United of Wis. v.

Marshfield Clinic, 65 F.3d 1406, 1412 (7th Cir. 1995) (Posner, J.). A

plaintiff seeking to present direct evidence of market power needs to

show more than prices above a competitive level. It must show “evidence

of restricted output and supracompetitive prices.” Rebel Oil, 51 F.3d at

1434 (emphasis added); Forsyth v. Humana, Inc., 114 F.3d 1467, 1476

(9th Cir. 1997) (“With no accompanying showing of restricted output,”

“hig[h] prices” and “high profits … fail[ ] to present direct evidence of

market power.”), overruled on other grounds by Lacey v. Maricopa Cnty,

693 F.3d 896 (9th Cir. 2012).

     The arguments pushed by CREXi and the FTC, if accepted, would

open the floodgates to baseless antitrust suits. Recognizing claims based



                                       7
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 14 of 41




on the de facto exclusive dealing theory would allow a competitor to

transform its rival’s plainly nonexclusive contractual language into

exclusive dealing provisions and drag its rival into expensive, protracted

discovery based on speculative allegations about third-party conduct.

Indeed, there is no end to what a struggling competitor could do with

such an amorphous doctrine. So too, permitting a party to establish

direct evidence of market power through allegations of supracompetitive

prices alone would contravene binding authority and bedrock antitrust

principles.

     In rejecting these arguments below, the district court properly

concluded that CREXi failed to meet its pleading burden for its antitrust

counterclaims. This Court should affirm.

                                ARGUMENT
I.   Courts Properly Analyze Whether Alleged Misconduct Is
     Anticompetitive In Light Of The Bedrock Principle That A
     Business Has No Duty To Aid Its Competitors.

     “It can’t be said often enough that the antitrust laws protect

competition, not competitors.” United States v. Syufy Enters., 903 F.2d

659, 668 (9th Cir. 1990); see Brown Shoe Co. v United States, 370 U.S.

294, 320 (1962).      From this cornerstone principle, this Court has

recognized, comes another: “businesses are free to choose the parties


                                       8
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 15 of 41




with whom they will deal, as well as the prices, terms, and conditions of

that dealing.” Qualcomm, 969 F.3d at 993 (quoting Pac. Bell Tel. Co. v.

Linkline Commc’ns, Inc., 555 U.S. 438, 448 (2009)). These “traditional

antitrust principles” form the foundation of a court’s antitrust analysis,

including its analysis of whether conduct is anticompetitive. Trinko, 540

U.S. at 411.

     The district court properly applied these traditional antitrust

principles in concluding that CREXi failed to allege that CoStar engaged

in anticompetitive conduct. Though “anticompetitive conduct comes in

too many forms and shapes to permit a comprehensive taxonomy,” the

question courts find themselves asking time and again “is whether, based

on the evidence and experience derived from past cases, the conduct at

issue … has little or no value beyond the capacity to protect the

monopolist’s market power.” Novell v. Microsoft Corp., 731 F.3d 1064,

1072 (10th Cir. 2013) (Gorsuch, J.); see Cascade Health Sols. v.

PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008).             In answering this

question, the district court “evaluat[ed Costar’s] alleged conduct in light

of the recognition in antitrust law that a business generally has the right

to refuse to deal with its competitors.” Op. 3.



                                       9
       Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 16 of 41




      There is nothing improper about a court analyzing a party’s conduct

in light of this “traditional antitrust principle.” Trinko, 540 U.S. at 411.

CREXi and the FTC try to recast the court’s analysis as “incorrectly”

applying    the   “refusal-to-deal    framework”—which          governs claims

challenging a firm’s “purely unilateral” refusal to deal with a rival—to its

claim targeting CoStar’s alleged restraints “on its customers that

prevented them from working” with CREXi and others. FTC Br. 10;

CREXi Br. 32. But that charge plainly misses the mark because the

district court simply did not apply the refusal-to-deal factors in disposing

of CREXi’s claim.

      This Court has derived three key elements that must be present in

refusal to deal cases. The plaintiff must plead that (1) the defendant has

unilaterally terminated “a voluntary and profitable course of dealing”

with its rival, (2) “the only conceivable rationale or purpose is ‘to sacrifice

short-term benefits in order to obtain higher profits in the long run from

the exclusion of competition,’” and (3) “the refusal to deal involves

products that the defendant already sells in the existing market to other

similarly situated customers.”        Qualcomm, 969 F.3d at 994 (quoting

MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1132 (9th Cir.



                                        10
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 17 of 41




2004); see Novell, 731 F.3d at 1074. Here, the district court did not even

set out this framework, let alone apply it.

     The case relied on by CREXi and the FTC reveals the error of their

logic. Both claim that the district court made the same mistake that was

present in Chase Manufacturing, Inc. v. Johns Manville Corp., 84 F.4th

1157 (10th Cir. 2023), where the Tenth Circuit held that the district court

“erred in choosing the refusal-to-deal-with-rivals framework to measure

the legality of” the defendant’s exclusionary conduct, including its threats

to stop selling its products to distributors if they worked with an upstart

rival. Id. at 1162, 1173. But there the district court actually applied the

refusal-to-deal framework in a case that did not involve a unilateral

refusal to deal with one’s rival. Chase Mfg., Inc. v. Johns Manville Corp.,

601 F. Supp. 3d 911, 926 (D. Colo. 2022).             Even though the court

recognized that this was not a refusal to deal case, the court analyzed the

plaintiff’s claim by “borrow[ing] as the claim’s prima facie elements those

from the refusal-to-deal context.” Id.

     The district court’s analysis here bears no resemblance to the lower

court’s analysis in Chase Manufacturing. The court did not “borro[w[]”

the “elements” from the “refusal-to-deal context” in analyzing whether



                                       11
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 18 of 41




CoStar’s alleged conduct was anticompetitive. Id. In fact, the court made

no mention of the specific refusal-to-deal elements. See generally Op.

Rather, the court analyzed CoStar’s alleged misconduct piece-by-piece,

taking into account contractual language and market realities, and

concluded that none of the conduct “constitute[d] anticompetitive

conduct.” Op. 5–9; cf. Chase Mfg., 601 F. Supp. 3d at 928 (concluding

that, given the “few instances of threatened or actual refusals to supply

and no evidence of resulting adverse effects,” plaintiff could not prove the

“exceptional situation” needed to establish a refusal a deal).

     To be sure, the district court here “start[ed] its analysis” by

“recogni[zing]” the foundational antitrust principle that “a business

generally has the right to refuse to deal with its competitors.” Op. 3. But

as explained, there is nothing improper about recognizing this bedrock

principle. Indeed, the Tenth Circuit did precisely the same in Chase

Manufacturing, beginning its anticompetitive-conduct analysis by noting

that it “must be mindful” of a few core antitrust principles, including that

“businesses are free to choose whether or not to do business with others.”

84 F.4th at 1170–71; see id. at 1171 (“With these principles in mind, we

turn to … [the alleged] exclusionary conduct”). At bottom, the notion that



                                       12
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 19 of 41




a court’s recognition of foundational antitrust principles could constitute

legal error is beyond wrong. There is not a single case in any Supreme

Court or Federal Reporter that supports this half-baked idea.

II.   The De Facto Exclusive Dealing Theory Cannot Be Used To
      Transform Non-Exclusive Contract Provisions Into
      Exclusivity Provisions.

      CREXi and the FTC argue that CoStar’s contractual provisions

with brokers are “de facto” exclusivity provisions that violate the

Sherman Act. CREXi Br. 62–64. But CREXi and the FTC both fail to

acknowledge that this Court has “not explicitly recognized a ‘de facto’

exclusive dealing theory.”       Aerotec, 836 F.3d at 1182.          As a close

examination of this theory’s underpinnings reveals, the Court should not

recognize this theory in Section 1 or Section 2 cases. In any event, as this

Court noted in Aerotec, even if this theory were a viable path to relief, it

is unavailable when—as here—the contractual terms plainly do not

substantially foreclose brokers from dealing with one’s competitor.

      A.   The De Facto Exclusive Dealing Theory Lacks Any
           Doctrinal Foundation.

      The “notion of de facto exclusive dealing” can be traced back to a

century-old case involving Section 3 of the Clayton Act. See ZF Meritor,

LLC v. Eaton Corp., 696 F.3d 254, 329 (3d Cir. 2012) (Greenberg, J.,


                                       13
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 20 of 41




dissenting) (discussing United Shoe Mach. Corp. v. United States, 258

U.S. 451, 457 (1922)). In United Shoe, the court held that a contract falls

within the Clayton Act’s section as to exclusivity, even though the

contract does “not contain specific agreements not to use the [goods] of a

competitor,” if “the practical effect … is to prevent such use.” 258 U.S. at

457. The Court noted that the provisions at issue there amounted to

“tying agreements” and that, due to the “dominating position in supply

shoe machinery” occupied by United Shoe, “effectually prevent[ed] [the

lessee] from acquiring the machinery of a competitor,” except “at the risk

of forfeiting the right to use the machines furnished by” United Shoe. Id.

at 457–58.

     Though the notion of this theory starts with United Shoe, the few

modern cases recognizing de facto exclusive dealing as a valid theory

have relied on language from yet another case involving Section 3 of the

Clayton Act—Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320 (1961).

In Tampa Electric, the Court surveyed its cases “pass[ing] upon questions

arising under [Section] 3” of the Clayton Act, including its holding in

United Shoe, and concluded that a contract “found to be an exclusive-

dealing arrangement” does not violate “[S]ection [3] unless the court



                                       14
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 21 of 41




believes it probable that performance of the contract will foreclose

competition in a substantial share of the line of commerce affected.” Id.

at 325, 327. Notably, the Court “assume[d], but d[id] not decide” that the

requirements contract at issue in fact was “an exclusive-dealing

arrangement within the compass of [Section] 3,” id. at 330, and

ultimately held that the contract did not violate Section 3. Id. at 335. So

too, because the contract did not “fall within the broader proscription” of

the Clayton Act, the court concluded that “it is not forbidden by” Section

1 and 2 of the Sherman Act. Id. at 335.

     As this Court has explained, from these humble beginnings in

Section 3 cases, two of this court’s sister circuits have recognized the so-

called de facto exclusive dealing theory. See Aerotec, 836 F.3d at 1182

(citing ZF Meritor, 696 F.3d at 282 n.14 & McWane, Inc. v. FTC, 783 F.3d

814, 833–35 (11th Cir. 2015)).3 Under this theory, though a contract does

not contain an agreement to deal exclusively, courts will “look ‘past the

terms of’” the non-exclusive contract “to ascertain the relationship


3 A few other circuit courts have briefly examined this theory before
rejecting such claims outright. See United Air Lines, Inc. v. Austin Travel
Corp., 867 F.2d 737, 742 (2d Cir. 1989); Concord Boat Corp. v. Brunswick
Corp., 207 F.3d 1039, 1058–60 (8th Cir. 2000); Se. Mo. Hosp. v. C.R. Bard,
Inc., 642 F.3d 608, 612–13 (8th Cir. 2011).

                                       15
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 22 of 41




between the parties and the effect of the agreement in the real world.”

Id. at 1182 (quoting ZF Meritor, LLC, 696 F.3d at 270). This Court has

never “explicitly recognized a ‘de facto’ exclusive dealing theory like that

recognized in the Third Circuit and Eleventh Circuit.” Id.

     The Third Circuit became the first circuit since the turn of the

century to bless this theory in LePage’s Inc. v. 3M, 324 F.3d 141 (3d Cir.

2003) (en banc). Though the court did not mention the theory by name,

the court rejected 3M’s argument that an arrangement “that contained

no express exclusivity requirement” could not support an exclusive

dealing claim under Section 2, and held that the arrangement—bundled

rebates and discounts offered to major suppliers—were designed to and

did operate as exclusive dealing arrangements. Id. at 157. Not long after,

in another Section 2 case, the court similarly reasoned that “a series of

independent sales” could be an “exclusive dealing arrangement” if

accompanied by certain “economic elements”—i.e., sufficiently large

market share and exclusionary conduct. United States v. Dentsply Int’l,

Inc., 399 F.3d 181, 193–94 (3d Cir. 2005).

     In ZF Meritor—the case on which CREXi heavily relies, CREXi Br.

63–64—the Third Circuit offered its most thorough discussion of this



                                       16
       Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 23 of 41




theory. There, the court held that “an exclusive dealing claim does not

require a contract that imposes an express exclusivity obligation” or “a

contract that covers 100% of the buyer’s needs” because “de facto

exclusive dealing may be unlawful.” ZF Meritor, 696 F.3d at 282 & n.14.

The legality of such a contract, the court reasoned, ultimately turns on

“whether the agreement foreclosed a substantial share of the relevant

market such that competition was harmed.” Id. at 283. But even in

crediting such a claim, the court acknowledged that “‘partial’ exclusive

dealing is rarely a valid antitrust theory” because contracts that are not

“100% exclusive” are “generally lawful because market foreclosure is only

partial, and competing sellers are not prevented from selling to the

buyer.” Id. at 283 (collecting cases rejecting such claims).

      Finally, in McWane, the Eleventh Circuit became only the second

circuit court to recognize this theory.4 McWane—a major player in the



4 Though this Court in Aerotec described McWane as a de facto exclusive

dealing case akin to the Third Circuit’s decision in ZF Meritor, McWane
did not involve the sort of de facto exclusive dealing theory that CREXi
and the FTC press here. Like in ZF Meritor, CREXi here urges this Court
to “look past the terms of the contract” to its “effect … ‘in the real world,’”
and conclude that—even though CoStar’s agreements lack “an ‘express
exclusivity requirement’”—they amount to unlawful de facto exclusive
dealing. CREXi Br. 63 (quoting ZF Meritor, 696 F.3d at 260). In


                                        17
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 24 of 41




ductile iron pipe fittings market—implemented a “Full Support

Program” in a letter to its distributors. McWane, 783 F.3d at 820. In this

letter, McWane announced that, with limited exceptions, “unless [the

distributors] bought all of their domestic fittings from McWane, they

would lose their rebates and be cut off from purchases for 12 weeks.” Id.

at 819. The FTC brought an enforcement action under Section 5 of the

FTC Act and ultimately found that McWane’s actions “constituted an

illegal exclusive dealing policy.” Id. Critically, the Commission and the

ALJ found that distributors were “essential to the domestic fittings




McWane, however, the FTC did not ask the Court to look past the terms
of the contract; rather, the FTC argued—and the Court agreed—that
McWane’s exclusivity program, though short in duration, did constitute
exclusive dealing. 783 F.3d at 834–35. Indeed, McWane argued not that
its program did not constitute exclusive dealing, but that the
characteristics of its mandate meant that it was “presumptively legal”
and “[could not] harm competition.” Id. at 833; see McWane, Inc., 2014–
1 Trade Cas. (CCH) ¶ 78670, 2014 WL 556261, at *24 (F.T.C. Jan. 30,
2014) (“McWane argues its program could not have foreclosed access to
distributors because it did not require distributors to commit to
purchasing McWane’s fittings exclusively for a lengthy period of time.”);
see id. at *46 (Wright, J., dissenting) (agreeing that the program was an
exclusive dealing arrangement). The Eleventh Circuit’s discussion of the
“practical effect” of the program thus concerned not whether the program
constituted exclusive dealing, but whether the program substantially
foreclosed competition. McWane, 783 F.3d at 833–35.

                                       18
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 25 of 41




market” because there were no “viable alternate distribution channels,

including direct sales to end users.” Id. at 834.

     Before the Eleventh Circuit, McWane argued that its exclusivity

program was “presumptively legal” because it was “short-term and

voluntary.” Id. at 833. The Court noted that neither its precedent nor

precedent from the Supreme Court spoke “specifically to this issue,” but

it ultimately agreed with the FTC that the de facto exclusive dealing

approach from Dentsply and ZF Meritor was “consistent with the

Supreme Court’s instruction to look at the ‘practical effect’ of exclusive

dealing arrangements.” Id. at 834 (citing Tampa Elec., 365 U.S. at 326–

28). Grafting this framework from the Section 3 context onto its analysis,

the court considered “market realities” rather than “formalistic

distinctions” and rejected “McWane’s argument that the specific form of

its exclusivity mandate” made it “presumptively legal” and thus

“insulated … from antitrust scrutiny.” Id. at 835.

     As all this makes clear, the theoretical underpinnings of the de facto

exclusive dealing theory are threadbare. The Third Circuit is the only

circuit court that has imported this doctrine into Section 2 cases. Only

one opinion—ZF Meritor—has ever extended this doctrine to an exclusive



                                       19
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 26 of 41




dealing claim under Section 1, and it offered nothing more than ipse dixit

and its own Section 3 Clayton Act precedent to support its conclusion that

“[a]n express exclusivity requirement” is “not necessary” to state a

“cognizable [claim] under the antitrust laws,” including the Sherman Act.

696 F.3d at 270. As noted, Tampa Electric declined to consider whether

such a contract could violate Section 1 or Section 2, see 365 U.S. at 335,

so its analysis offers no support for this doctrinal move.

     B.    This Court’s Cases, Historical Context, and
           Administrability Concerns Counsel Strongly Against
           Recognizing The De Facto Dealing Theory.

     1.    This Court’s cases cut sharply against the de facto exclusive

dealing theory. As this Court held in Aerotec, “[a] prerequisite to any

exclusive dealing claim is an agreement to deal exclusively.” 836 F.3d at

1181 (emphasis added). And in evaluating these claims, this Court has

made clear that courts must focus on “the actual terms of the

agreements,” including “whether there are requirements terms” or

“volume of market share targets.” Id. The de facto exclusive dealing

theory urged by the FTC here is simply incompatible with this approach.

     Indeed, this Court has already recognized as much. In Aerotec, this

Court canvassed the de facto exclusive dealing cases, including the trio



                                       20
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 27 of 41




of Third Circuit cases previously discussed. Id. at 1182–83. In doing so,

the Court explained, that in “any exclusive dealing claim”—actual or de

facto—“the court first [must] be satisfied that specific features of the

agreement required exclusivity.”        Id. at 1183 (emphasis added).         In

Qualcomm, too, despite the FTC’s urging that the agreements there

“‘easily’ qualified as de facto exclusive-dealing agreements under Tampa

Electric’s ‘practical effect’ test,” the Court explained that agreements

providing “substantial discounts” for customers who met volume

requirements are “not exclusive dealing arrangements, de facto or actual,

unless they ‘prevent[ ] the buyer from purchasing a given good from any

other vendor.’” 969 F.3d at 1003–04 (emphasis added).

     Tellingly, no court that has adopted this theory has offered any

rationale—let alone, a convincing one—for uncritically grafting United

Shoe’s and Tampa Electric’s “practical effect” test for Clayton Act Section

3 cases onto Sherman Act cases. While this test arguably flows from the

Clayton Act, United Shoe, 258 U.S. at 457, it is not clear that the same

can be said for the Sherman Act. See Aerotec, 836 F.3d at 1181. Indeed,

given that both United Shoe and Tampa Electric employ an ”approach

[that] is a relic from a ‘bygone era of statutory construction,” Food Mktg.



                                       21
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 28 of 41




Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019), courts should

be—at the very least—skeptical that such a approach accords with the

Sherman Act.

     2.    Historical context likewise cautions against jettisoning the

bright-line rule applied by the majority of circuits. As the leading treatise

has noted, the historical record shows that, before the Clayton Act,

exclusive-dealing arrangements were analyzed under the Sherman Act

and the vast majority were found lawful, “just as they had always been

at common law.” Areeda & Hovenkamp, Antitrust Law ¶ 1800c (Aug.

2023); see, e.g., Whitwell v. Cont’l Tobacco Co., 125 F. 454, 461 (8th Cir.

1903) (approving tobacco company’s granting of rebates to dealers who

refused to sell competing brands because the arrangement left smaller

rivals free to capture business by offering buying “lower prices” or “better

terms”); cf. U.S. Tel. Co. v. Cent. Union Tel. Co., 202 F. 66 (6th Cir. 1913)

(condemning 99-year exclusive long-distance telephone contract under

the Sherman Act).

     So too, institutional and administrability concerns counsel

restraint. To be sure, “[a]ntitrust analysis must always be attuned to the

particular structure and circumstances of the industry at issue,” Trinko,



                                       22
        Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 29 of 41




540 U.S. at 411, and “[l]egal presumptions that rest on formalistic

distinctions rather than actual market realities are generally disfavored

in antitrust law,” Eastman Kodak Co. v. Image Tech. Servs., Inc., 504

U.S. 451, 466–67 (1992).          But the Supreme Court has “repeatedly

emphasized the importance of clear rules in antitrust law.” Linkline, 555

U.S. at 452; see Town of Concord v. Bos. Edison Co., 915 F.2d 17, 22 (1st

Cir. 1990) (Breyer, C.J.) (antitrust rules “must be clear enough for

lawyers to explain them to clients”). Indeed, courts are “ill suited ‘to act

as central planners, identifying the proper price, quantity, and other

terms of dealing.’” Linkline, 555 U.S. at 452 (quoting Trinko, 540 U.S. at

408).

        3.   Here, CREXi’s argument effectively asks this Court to discard

a clear, administrable rule—that “[a] prerequisite to any exclusive

dealing claim is an agreement to deal exclusively,” Aerotec, 836 F.3d at

1181—in favor of the amorphous de facto exclusive dealing theory. Worse

still, CREXi asks this Court to apply this theory based not on the “actual

terms of the agreements”—such as “requirements terms,” “volume or

market share targets,” or other terms this court uses to evaluate

exclusive dealing claims, id.—but instead based on the alleged “chilling



                                         23
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 30 of 41




effect” CoStar’s non-exclusive terms have on the brokers’ willingness to

work with CREXi. CREXi Br. 65; FTC Br. 19 (urging the court to apply

this theory based on how brokers’ “widely understood” CREXi’s terms).

Just as courts are “ill suited” to identify proper “terms of dealing,” they

are even more inadequately stationed to police “terms of dealing” based

on third parties’ reactions to non-exclusive contract terms. See Linkline,

555 U.S. at 452.

     As all this makes clear, in deciding whether an agreement

constitutes an agreement to deal exclusively, this Court has required that

the specific agreement at issue actually “requir[e] exclusivity.” Aerotec,

836 F.3d at 1183; see id. at 1182 (“[I]n the absence of any exclusive

requirements on which the discount is conditioned, the sale remains

nonexclusive.”); see Allied Orthopedic Appliances Inc. v. Tyco Health Care

Grp. LP, 592 F.3d 991, 996–97 (9th Cir. 2010) (rejecting Section 1

exclusive dealing argument where the agreements provided market-

share pricing discounts but “did not contractually obligate Tyco’s

customers to purchase anything from Tyco”). This Court should reiterate

its prior teaching and make clear that any exclusive dealing claims, de

facto or actual, fail unless the specific terms and features of the



                                       24
       Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 31 of 41




agreement require exclusivity.          In doing so, the Court should reject

outright CREXi’s argument that the understandings of those not party

to the contract can transform plainly non-exclusive arrangements into

exclusive dealing arrangements, and affirm dismissal of this claim.

                                  *      *     *

       While amici urge the Court to take this path and make clear that

any exclusive dealing claim must fail unless the terms and features of

the agreement require exclusivity, the Court could instead do here what

it did in Aerotec and “not reach the issue” of whether to “explicitly

recogniz[e]” de facto exclusive dealing theory as a viable theory. 836 F.3d

at 1182. The Court did not reach the issue because “at bottom, a plaintiff

must still show that contracts that were induced were exclusive rather

than    run-of-the-mill    contracts,    which     inevitably    ‘foreclose[ ]’   or

‘exclude[ ]’ alternative sellers from some portion of the market, namely

the portion consisting of what was bought.” Id. (quoting Barry Wright

Corp. v. ITT Grinnell Corp., 724 F.2d 227, 236 (1st Cir. 1983)). In other

words, whatever else might be said about the de facto exclusive dealing

theory, it “does not provide [a plaintiff] an end run around the obligation

to first show that express or implied contractual terms in fact



                                         25
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 32 of 41




substantially foreclosed dealing with a competitor for the same good or

service.” Id. Here, as the district court explained, CREXi has plainly

failed to make this showing. See Op. 6 (“CREXI’s allegations confirm that

over 500 existing brokers utilize both CoStar and CREXI’s services.”).

III. Allegations Of High Prices, Standing Alone, Do Not Provide
     Direct Evidence Of Market Power Or Monopoly Power.

     1.    “[A]ntitrust laws protect competition, not competitors.” Syufy

Enters., 903 F.2d at 668. And while conduct that “eliminates rivals

reduces competition,” the “reduction of competition does not invoke the

Sherman Act until it harms consumer welfare.” Rebel Oil, 51 F.3d at

1433; see Reiter v. Sonotone Corp., 442 U.S. 330, 343 (1979) (Congress

designed the Sherman Act as a “consumer welfare prescription”) (quoting

Robert H. Bork, The Antitrust Paradox 66 (1978)).              Without market

power, a competitor’s actions cannot “threaten consumer welfare.” Rebel

Oil, 51 F.3d at 1434. So to state a claim under Section 1 or Section 2 of

the Sherman Act, a plaintiff “must allege both that a ‘relevant market’

exists and that the defendant has power within that market.” Newcal

Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1044 & n.3 (9th Cir. 2008).

     “Market power is the ability to raise price profitably by restricting

output.”   Am. Express Co., 138 S. Ct. at 2288 (quoting Areeda &


                                       26
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 33 of 41




Hovenkamp § 5.01) (emphasis in original). Courts thus “cannot infer

monopoly power just from higher prices.” Marshfield Clinic, 65 F.3d at

1412 (Posner, J.); see Coal. for ICANN Transparency, Inc., 611 F.3d at

503 (“[H]igh price alone is not an antitrust violation.”).          Indeed, the

“charging of a high price is, so far as potential competitors are concerned,

an attracting rather than an excluding practice.” Marshfield Clinic, 65

F.3d at 1413; Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 274

n.12 (2d Cir. 1979) (same).

     Thus, when a plaintiff seeks to present direct evidence of market

power—that is, “proof of actual detrimental effects on competition,” Am.

Express, 138 S. Ct. at 2284 (cleaned up)—it needs to show more than

prices above a competitive level. It must show, as this Court explained

in Rebel Oil, “evidence of restricted output and supracompetitive prices.”

51 F.3d at 1434 (emphasis added). In other words, where a plaintiff

points to “hig[h] prices and “high profits” with “no accompanying showing

of restricted output,” it “fail[s] to present direct evidence of market

power.” Forsyth, 114 F.3d at 1476.5



5 This legal test rests on the sound economic logic of looking at output

over price. Indeed, the supreme evil of antitrust is deadweight loss—i.e.,


                                       27
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 34 of 41




     The Supreme Court recognized precisely this in American Express,

going so far as to italicize the language it quoted from Areeda and

Hovenkamp: that “[m]arket power is the ability to raise price profitably

by restricting output.” 138 S. Ct. at 2288. A closer look at the Areeda and

Hovenkamp treatise makes this point even clearer, as the authors go on

to emphasize that “market power is the abilities (1) to price substantially

above the competitive level and (2) to persist in doing so for a significant

period without erosion by new entry or expansion.”                    Areeda &

Hovenkamp § 501 (emphasis in original).

     Notably, the treatise explains that “[t]his is the meaning—though

not the literal wording—of [the] standard legal formula” used by courts:

that market power is “the ability (1) to control prices or (2) to ‘exclude

competition.’” Id. (emphasis in original) (quoting United States v. E.I. du

Pont de Nemours & Co., 351 U.S. 377, 391–92 (1956)).                  Thus, this

phrasing of the test does not change the test’s meaning or its application.




“underconsumption caused by a monopolist or cartel reducing output and
increasing price, which results in consumers being denied access to a
product despite their willingness to pay the efficient equilibrium price.”
Christopher R. Leslie, Predatory Pricing and Recoupment, 113 Colum. L.
Rev. 1695, 1743–44 (2013); see Bork, The Antitrust Paradox at 101. If
output stays the same with higher pricing, no deadweight loss occurs.

                                       28
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 35 of 41




Id. In the end, no matter how the test is phrased, a plaintiff cannot show

direct evidence of market power by pointing only to surpracompetitive (or

above-competitive-level) prices—it must also show a reduction of output.

Indeed, allowing a plaintiff to end run this showing and demonstrate

market power by pointing to high prices alone is incompatible with the

oft-repeated maxim that direct evidence of market power is “only rarely

available.” Microsoft Corp., 253 F.3d at 51; McWane, 783 F.3d at 830;

Mylan Pharms. Inc. v. Warner Chilcott Pub. Ltd., 838 F.3d 421, 434 (3d

Cir. 2016).

     2.       Against this backdrop, it is clear that the district court

correctly concluded that, to sufficiently allege direct evidence of market

power, CREXi needed to allege plausibly both “restricted output and

supracompetitive prices.” Op. 11 (quoting Rebel Oil, 51 F.3d at 1434).

Before this Court, CREXi does not argue that Rebel Oil was wrong when

decided. CREXi Br. 36–39. Instead, it says that “both the Supreme Court

and this Court have made clear that plaintiffs need not allege reduced

output in addition to supracompetitive pricing”—that is, that Rebel Oil

is now “wrong as a matter of law.” CREXi Br. 38–39; see FTC Br. 27–28

(arguing that the court “wrong[ly]” “construe[d]” Rebel Oil). In making



                                       29
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 36 of 41




this argument, CREXi principally relies on the Supreme Court’s

supposed use of “the disjunctive ‘or’ to define sufficient direct evidence”

in Ohio v. American Express Co., 138 S. Ct. 2274, 2284 (2018), and on two

opinions from this Court. CREXi Br. 39; see Epic Games, Inc. v. Apple,

Inc., 67 F. 4th 946, 983–84 (9th Cir. 2023), cert. denied, 144 S. Ct. 681

(2024); O’Bannon v. NCAA, 802 F.3d 1049, 1070 (9th Cir. 2015).

     As amici have already shown, American Express provides no

support for CREXi’s argument. The Court’s passing use of “or” in listing

detrimental effects on competition does not call into question Rebel Oil’s

test for direct evidence, and the Court’s later statement that “[m]arket

power is the ability to raise price profitably by restricting output”

confirms that the test is a correct statement of law. That leaves CREXi

in the unenviable position of convincing this Court that it silently

overruled the Rebel Oil test in Epic Games or O’Bannon. This Court did

nothing of the sort.

     CREXi and the FTC point to this Court’s statement in Epic Games

and O’Bannon that “a reduction in output is one form of direct evidence,

but it ‘is not the only measure.’” CREXi Br. 38 (citation omitted); FTC

Br. 27–28. That is both true and completely irrelevant. Of course there



                                       30
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 37 of 41




are forms of direct evidence beyond reduction of output. But that does

not change that, as this Court held in Rebel Oil, when a plaintiff seeks to

show market power through direct evidence of supracompetitive prices,

it must also show reduction of output. 51 F.3d at 1434; see Am. Express,

138 S. Ct. at 2288. These cases thus do nothing to cast doubt on this

holding. In fact, they reaffirm that, in certain instances, “[a] showing of

decreased output [i]s essential.” Epic Games, 67 F.4th at 984; Areeda &

Hovenkamp ¶ 1503b1 (explaining that “reduction in output” is “the most

prevalent” measure of “anticompetitive effect”). As this court has held,

one of those instances is when, as here, a plaintiff attempts to tries to

provide direct evidence through supracompetitive prices.

     Lastly, the FTC says in its amicus brief that this Court “long has

recognized that a firm’s ‘ability to manage its prices with little regard to

competition’ ‘support[s] an inference of market dominance.’” FTC Br. 25

(quoting Greyhound Comput. Corp. v. IBM Corp., 559 F.2d 488, 497 (9th

Cir. 1977)). Again, true but irrelevant.6 As explained, supracompetitive

prices—standing alone—are not enough to establish market power. 51


6 Indeed, this language from IBM—the “ability to manage its prices”—

recognizes that control over pricing necessarily requires “manage[ment]”
of something—i.e., output—not simply increasing the sticker price.

                                       31
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 38 of 41




F.3d at 1434; see Am. Express, 138 S. Ct. at 2288. If such allegations

were enough to plead market power, the FTC surely would have found a

post-Rebel Oil case for this point instead of snipping language from

different sentences in IBM to cobble together support for its preferred

rule. See 559 F.2d at 497.7




7 Having come up empty elsewhere, the FTC’s amicus brief turns to two

unpublished district court opinions purportedly showing that this Court
has done away with Rebel Oil. FTC Br. 28–30. They do not. The first
involves allegations of “suppress[ed] wages,” not supracompetitive prices.
Chung Le v. Zuffa, LLC, No. 2:15-cv-01045-RFB-BNW, 2024 WL 195994,
at *5 (D. Nev. Jan. 18, 2024). And the second in fact found that the facts
at hand plausibly implied a reduction in “marketwide output.” In re ATM
Fee Antitrust Litig., No. C 04-2676 CRB, 2010 WL 2557519, at *10–11
(N.D. Cal. June 21, 2010) (“[T]he fact that Star, the market leader, has
charged supracompetitive interchange fees for two decades implies that
marketwide output—i.e., the number of foreign ATM transactions—has
been lower than it would have been had Star charged a competitive
interchange fee.”) (emphasis added).

                                       32
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 39 of 41




                               CONCLUSION

     This Court should affirm the decision below.

April 29, 2024                                Respectfully submitted,

                                              /s/ Cody L. Reaves
                                              Cody L. Reaves
                                              Counsel of Record
                                              Benjamin M. Mundel
                                              SIDLEY AUSTIN LLP
                                              1501 K Street, N.W.
                                              Washington, D.C. 20005
                                              Tel: (202) 736-8000
                                              cody.reaves@sidley.com

                                              Counsel to Amici Curiae




                                       33
      Case: 23-55662, 04/29/2024, ID: 12881163, DktEntry: 42, Page 40 of 41




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     This Brief complies with the type-volume limitations of Federal

Rules of Appellate Procedure 29(a)(5) and Circuit Rule 32-1(a) because it

contains 6,729 words, excluding the parts of the brief exempted by

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                                           /s/ Cody L. Reaves
                                           Cody L. Reaves
                                           Counsel to Amici Curiae
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                                           /s/ Cody L. Reaves
                                           Cody L. Reaves
                                           Counsel to Amici Curiae
